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FILED

     
  

IN THE UNITED STATES DISTRICT COURT DEC. 05 2012

FOR THE DISTRICT OF DELAWARE

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7S. bie OUR
DISTRICT OF DELAWARE
KAROLINA KARPOV, CN- \2-14 IL -GMS
Plaintiff,
v- APPLICATION FOR A DOCKET

VLADIMIR KARPOV and SVETLANA
KARPOV,

JUDGE FORTHWITH, AND A STAY

)

)

)

)

) NUMBER AND ASSIGNMENT OF A
)

) | OF TRANSFER OF PROPERTY

)
)

Defendants.

 

TO THE COURT AND DEFENDANTS,

Plaintiff pro se, KAROLINA KARPOV, asks the court for the following recited relief
forthwith pursuant to the penalties of perjury of the State of Delaware:

1. I am the Plaintiff, KAROLINA KARPOV.

 

2. I filed suit on May 23, 2012 in New York State against the defendants, my
adoptive parents.

3. I did so because I was the victim of years of childhood sexual rape by Vladimir
Karpov while Svetlana covered up his acts and beat me to stay quiet.

4. Svetlana asked the New York court to dismiss my complaint but the court instead
granted a transfer of this action to your court as I had asked for. The New York Judge on
the case issued an order on October 23, 2012. See the Order attached. This order is in E
your case file under the names listed above. :

5. I now ask the court to quickly assign a docket number and a judge to my case.

 

6. I ask for this because I know by living with Svetlana, she is quick to transfer large
amounts of real property around. By the time this case comes up, Svetlana could sell or
give away all the property which I am asking be awarded to me for the suffering I went
through while being raised by Vladimir and Svetlana since age seven.

7. I also know that Svetlana keeps a huge number of bank accounts. Svetlana
shuttles money back and forth and all around to confuse anyone who is looking at her
finances. She also uses the accounts of other people to shuttle money around. My fear is
that, again, by the time this case comes up, Svetlana could shuttle away all the money I
am asking for as an award in this law suit leaving nothing for me.

 
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Along with my request to get a socket number and a judge, I need a temporary stay to
prohibit Svetlana from transferring any of her property.

8. I stand a reasonable probability of success because my complaint of Vladimir's
sex with me throughout my childhood is born out by the evidence that Vladimir accepted
a felony plea for continuous sexual abuse of a child and rape in the 3rd degree. He even
stole a car and drove to California where a policeman found him in a hotel with cash and
a gun to avoid a Delaware warrant for his arrest. This was in the Delaware news for
months and can be found online today. I am a suicide risk and have a mental health
history that will show that I suffer from post traumatic stress disorder because of
Vladimir and Svetlana.

9. I risk imminent threat of irreparable injury because if Svetlana shuffles away all
the money and real property I am asking for in my complaint. I will get nothing no matter
the judgment of the court. Right now, because of the mental condition Vladimir and
Svetlana put me in, I can neither work nor go to school. I am a prime candidate for public
assistance. Vladimir amassed a fortune in real estate which Svetlana transferred over to
herself when Vladimir went to prison. My complaint asks for an award of this property so
that I can support myself and use the proceeds to help others who are similarly repeatedly
sexually assaulted as children.

10. | When balancing equities, staying any transfer of Vladimir's and Svetlana's
property is far less burdensome on them than the nightmare I am going through living
each day penniless and helpless, begging for handouts and filing applications for public
assistance. Put another way, why should the taxpayers pay for Vladimir's sex with a child,
me, when Vladimir himself could pay for it. | was there since my seventh birthday

helping Vladimir amass his fortune while he relieved his pedophilic sexual urges with me.
Why shouldn't I get his fortune to support myself if I helped him obtain it?

11. For these reasons, I ask for an order prohibiting Vladimir, Svetlana or their agents
or operatives from transferring any of their property whether in their own names or in any
corporate names of which they are owners or majority shareholders.

12. L affirm I mailed by first class mail this application to Defendant Svetlana Karpov,
482 W. Chestnut Road, Newark, DE 19713 because I do not know who her lawyer is on
this case. I also affirm I mailed an original of this application to the Clerk of Court,
United States District Court, District of Delaware, 844 North King Street Wilmington,
DE 19801.

KAROLINA KARPOV
Dated: December 1, 2012

Attachment: Order dated October 23, 2012

 
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CONCLUSION

For the foregoing reasons, defendants’ motion is granted insofar as it seeks a declaration
that this Court lacks personal jurisdiction over defendants. However, the motion is denied
insofar as it seeks dismissal of the Complaint. Instead, the Clerk of Court is directed to transfer
this case to the United States District Court for the District of Delaware. |

The plaintiff in this matter is pro se, and the Court is concerned that, on a pro se basis,
she may not be able to effectively pursue her very troubling allegations in Delaware, where she
does not reside. Accordingly, the Court respectfully requests that, after the case is transferred,
the relevant personnel within the United States District Court for the District of Delaware
consider the appointment of pro bono counsel to assist Karpov in this matter.

The Clerk of Court is directed to terminate the motion at docket number 12.

SO ORDERED. Paul A. = f

Paul A. Engelmayer _
United States District Judge

Dated: October 23, 2012
New York, New York

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

x
KAROLINA KARPOV,
12 Civ. 3649 (PAE)
Plaintiff,
QPINION & ORDER
-V-
VLADIMIR KARPOV and SVETLANA KARPOV,
Defendants.
X

PAUL A. ENGELMA YER, District Judge:

In this diversity action, plaintiff Karolina Karpov (“Karpov”) brings tort claims against
her adoptive parents, Vladimir Karpov (“Vladimir”) and Svetlana Karpov (“Svetlana”), claiming
that Vladimir sexually abused her beginning when she was age 7, and that Svetlana beat her for
complaining of the abuse. Defendants Vladimir and Svetlana move to dismiss the complaint
pursuant to Federal Rules of Civil Procedure 12(b)(2) and (b)(3), arguing that this Court lacks
personal jurisdiction over them, and that venue is improper in the Southern District of New
York. For the following reasons, the Court concludes that it lacks personal jurisdiction over
defendants, but, rather than dismiss, transfers this case to the United States District Court for the
District of Delaware.

1 Background and Procedural History'
The facts alleged in the Complaint chronicle a shocking and heinous course of child

sexual abuse. Karpov is 18 years old and resides in the Southern District of New York. Compl.

 

' The Court’s account of the underlying facts of this case is drawn from Karpov’s complaint
(Dkt. 1) and her opposition to the defendants’ motion (“P1.’s Opp.”) (Dkt. 20). In the context of
a motion to dismiss, the Court assumes the truth of these allegations, and all inferences are drawn
in plaintiff's favor.

[1]

 

 
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6, 7. She alleges that she was adopted from the Ukraine by the Karpovs in 2001, when she
was age 7. Id. 38. Soon thereafter, Karpov alleges, Vladimir began to sexually abuse her. Id.
{| 45-82. That abuse continued until Karpov reached age 14. Jd. 411. During this period,
Karpov claims, Svetlana beat her for complaining of the abuse, and because Svetlana was
purportedly jealous of Vladimir’s preoccupation with their adoptive daughter. See, e.g., id J 88.
As alleged in the Complaint, it appears that this course of abuse occurred entirely in
Delaware, where Vladimir is now incarcerated in Delaware State Prison as a result of his abuse
of Karpov. Id. {fj 23-27; see also Affidavit of Svetlana Karpov (Dkt. 13) § 3 (“Karolina Karpov,
Plaintiff in this action, made allegations against my husband claiming that he sexually abused
Plaintiff while she lived in our home in Delaware during the period 2001 through 2008.”); see
also id. { 4 (“During the period 2001 through 2008, we lived in Delaware. During that time, and
since that time until today, we did not live in New York no [sic] did we have a residence in New
York nor did we have other connection [sic] with New York.”). Karpov, however, subsequently
fled to New York. P1.’s Opp. 2, 3. Upon reaching 18 years of age, she now seeks relief in tort
for her ordeal, bringing the following claims: (1) childhood sexual abuse; (2) intentional
infliction of emotional distress; (3) negligent infliction of emotional distress; (4) battery; (5)
assault; (6) false imprisonment; (7) abduction; (8) seduction; (9) child exploitation; (10)
emotional abuse; (11) neglect; (12) abandonment; (13) gender violence; and (14) loss of
consortium. See id. ff] 122-186. Karpov alleges that she has sustained severe emotional damage

as a result of the abuse, including post-traumatic stress disorder. /d. {J 109-121.

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On May 4, 2012, Karpov filed her Complaint. Dkt. 2. On July 11, 2012, defendants filed
the instant motion to dismiss. Dkt. 12-14. On July 30, 2012, Karpov submitted an opposition.
Dkt. 20. On August 12, 2012, defendants filed a reply. Dkt. 17.7

Defendants argue that the complaint must be dismissed for two reasons. First, they argue
that the Court lacks personal jurisdiction over the defendants because none of the abuse, as
alleged, occurred in New York, and the defendants have no contacts with or ties to New York.
Second, they argue that, even if the Court has jurisdiction, the proper venue for this case is
Delaware, where Vladimir is incarcerated and where Svetlana currently resides.

In opposition, Karpov asserts that Svetlana has travelled to New York for court
proceedings in the past, and thus that there would be no inconvenience imposed should this case
proceed in New York. Further, Karpov argues, evidence of her damages comes from
witnesses—including her therapist—-situated in New York. Karpov does not directly address
defendants’ jurisdictional argument. However, she asks the Court to transfer this case to the
federal district court in Delaware if there is a procedural defect that prevents it from proceeding
in this district.

Il. Applicable Legal Standard

Defendants challenge the Court’s personal jurisdiction over them pursuant to Fed. R. Civ.
P. 12(b)(2). “When responding to a Rule 12(b)(2) motion to dismiss for lack of personal
jurisdiction, the plaintiff bears the burden of establishing that the court has jurisdiction over the
defendant.” DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84 (2d Cir. 2001) (internal quotation

marks and citation omitted). In the context of a motion made before discovery, a plaintiff need

 

2 The docket numbers appear out of order because Karpov’s opposition, although dated July 30,
2012 and received on or about that date, was not scanned and docketed by the Court until August
27, 2012. It therefore has a higher docket number than defendants’ reply, which was filed later.

[3]

 

 

 
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only make “a prima facie showing” of personal jurisdiction to defeat a motion under Rule
12(b)(2). Id; see also Ball v. Metallurgie Hoboken-Overpelt, S.A., 902 F.2d 194, 196-97 (2d
Cir. 1990) (the Court may rely on “information in the complaint as well as supporting
documentation” to determine whether plaintiff has made a prima facie showing of jurisdiction).
In making this determination, the Court must construe al] pleadings and affidavits in the light

most favorable to the plaintiff. See PDK Labs, Inc. v. Friedlander, 103 F.3d 1105, 1108 (2d Cir.
1997).

Hil. Discussion

A district court sitting in diversity exercises personal jurisdiction over a defendant to the
same extent as courts of general jurisdiction in the forum state, here, New York. See Bank
Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 305 F.3d 120, 124 (2d Cir. 2002). The
personal jurisdiction inquiry proceeds in two steps: “First, [the Court] must determine whether
there is personal jurisdiction over [Defendants] under New York state law; second, if New York
law provides for personal jurisdiction, the Court must determine whether the assertion of
jurisdiction comports with the constitutional requirements of due process.” Beatie and Osborn
LEP v., Patriot Scientific Corp., 431 F. Supp. 2d 367, 386 (S.D.N.Y. 2006) (citing Metro. Life
Ins. Co. vy. Robertson-Ceco Corp., 84 F.3d 560, 567 (2d Cir. 1996)).

Turning first to the question of whether there is personal jurisdiction under New York
state law, that inquiry is governed by N.Y. C.P.L.R. § 302, New York’s so-called “long arm”
statute, which provides in pertinent part:

[A] court may exercise personal jurisdiction over any non-domiciliary .. . who in
person or through an agent:

1. Transacts any business within the state or contracts anywhere to supply goods
or services in the state; or

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2. Commits a tortious act within the state, except as to a cause of action for
defamation of character arising from the act; or

3. Commits a tortious act without the state causing injury to person or property
within the state, except as to a cause of action for defamation of character arising
from the act, if he

(i) Regularly does or solicits business, or engages in any other persistent

course of conduct, or derives substantial revenue from goods used or consumed or
services rendered, in the state, or

(ii) Expects or should reasonably expect the act to have consequences in

the state and derives substantial revenue from interstate or international

commerce; or

4. Owns, uses or possesses any real property situated within the state.

N.Y. C.P.L.R. § 302.

Here, Karpov has not alleged that defendants transact business in New York. Nor has she
pled facts that would subject Vladimir or Svetlana to New York’s jurisdiction under C.P.L.R. §
302 for tort claims arising out of the-alleged sexual and physical abuse, which all occurred in
Delaware. And, although Karpov has subsequently moved to New York, there is no indication in
the complaint that Vladimir or Svetlana could have anticipated that the ill effects of the abuse
would later be felt in New York. Accordingly, Vladimir and Svetlana, answerable although they
may be for these alleged terrible acts, are not answerable for them in New York. Because the
Court has found that there is no personal jurisdiction over defendants under New York law, the
second step of the analysis—relating to due process—need not be addressed.

IV. Transfer

Karpov has requested that the Court transfer this case to Delaware in the event defects are
found that prevent it from being maintained in this District. See Pl.’s Opp. 4. Pursuant to 28
U.S.C. § 1361:

Whenever a civil action is filed in a court . . . and that court finds that there is a

want of jurisdiction, the court shall, if it is in the interest of justice, transfer such
action or appeal to any other such court in which the action or appeal could have

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been brought at the time it was filed or noticed, and the action or appeal shall

proceed as if it had been filed in or noticed for the court to which it is transferred

on the date upon which it was actually filed in or noticed for the court from which

it is transferred.

28 U.S.C. § 1631.

{t is clear that this action could properly have been brought in Delaware: Venue would
be proper, because both defendants are found in that state, see 28 U.S.C. § 1391, and there would
be complete diversity of citizenship between Karpov, a New York resident and domiciliary, and
the defendants, both of whom are Delaware residents and domiciliaries, see 28 U.S.C. § 1332.

Moreover, under Second Circuit law, where jurisdiction is lacking, transfer must be
granted “unless it [is] not in the interest of justice to do so.” Paul v. INS, 348 F.3d 43, 46 (2d
Cir. 2003). Here, the interests of justice overwhelmingly support holding defendants to account
if the allegations in Karpov’s complaint are true. Accordingly, the Court grants Karpov’s request
to transfer this case to the United States District Court for the District of Delaware.

Because the Court has concluded that it lacks persona! jurisdiction over defendants and

that the appropriate course is to transfer this case to federal district court in Delaware, there is no

occasion to address defendants’ venue argument.

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